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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

 UNITED STATES OF AMERICA,                     )
                                               )
 v.                                            )       CAUSE NO. 2:05 CR 139
                                               )
 FERNANDO SANZ et al.                          )


                                     ORDER AND OPINION

        This matter is presently before the Court on Fernando Sanz’s Motion to Suppress

 Evidence. [Doc. 54.] Sanz seeks to suppress the large quantity of methamphetamine that was

 found in the bumper of his car during a police search conducted incident to a traffic stop. The

 issue before this Court is whether Sanz consented to the search, which I find that he did. For this

 reason, this Court DENIES Sanz’s Motion to Suppress.

        Sergeant Oscar Martinez is a 14-year veteran of the Lake County Sheriff’s Department.

 He has been with the Highway Interdiction Unit for the past 11 years, and he is currently the

 deputy commander of that unit. Martinez has extensive training in the movement and

 concealment of narcotics along the interstate highways, and he is a certified instructor on

 highway interdiction. He teaches at the Indiana Law Enforcement Academy and elsewhere.

 Martinez is fluent in Spanish; his family spoke it in the house while he was growing up, and he

 still speaks Spanish when he talks to his parents.

        On August 26, 2005, Martinez was patrolling Interstate 65. For reasons that are not

 particularly clear, he was accompanied that day by a reporter and photographer from the

 Northwest Indiana Times. It was not a good idea, but it was not one that Martinez came up with;

 his bosses instructed him to allow the media to tag along.   During the ride along, the

 photographer was in the front passenger seat and the reporter was in the back seat. Martinez had
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 just completed a traffic stop and was heading back to the station, as his shift was over. While

 traveling northbound on Interstate 65, Sanz came up behind a green Honda Civic being driven by

 the defendant Fernando Sanz. As Martinez was traveling about two car lengths behind the

 Honda, he saw Sanz weave onto the shoulder. Martinez testified that Sanz’s car was about half

 way over the yellow line separating the left lane and the shoulder. Martinez then observed Sanz

 jerk his car back into the left lane. Martinez decided to pull Sanz over because he had probable

 cause that Sanz committed the Indiana traffic infraction of unsafe lane movement. Martinez

 activated his emergency lights and pulled the Honda over.

        After Sanz pulled his vehicle over to the shoulder of the roadway, Martinez exited his

 police cruiser and approached the driver’s window of Sanz’s vehicle. Martinez’s police cruiser

 is equipped with both video and audio recording devices, including a body microphone that

 picks up Martinez’s conversation when he is outside of the car. Thus, the entire interaction

 between Martinez and the defendant was video and audio recorded.

        Once Martinez reached the driver’s door, he informed Sanz why he was being pulled

 over. Upon request, the defendant produced a registration for the car and a Mexican drivers

 license. Martinez testified that he had never previously seen the type of Mexican driver’s license

 that Sanz provided him. Because he saw Sanz weaving, Martinez asked if he had been drinking,

 and Sanz responded in the negative. During this interaction, Martinez asked a series of questions

 and Sanz responded appropriately to them. According to Martinez, Sanz appeared to understand

 English, and both the audio and videotape confirms Martinez’s observation. Martinez credibly

 testified that Sanz was extremely nervous during their encounter – more so than most motorists

 who are pulled over.


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        Martinez asked Sanz to exit the Honda and he began writing him a warning citation.

 Martinez inquired who the vehicle belonged to, and Sanz said “Nicholas.” During this whole

 time, Sanz continued acting fidgety and nervous. When Martinez asked Sanz where he and his

 passenger (co-defendant Thomas Prieto) were going, Sanz said they were coming from Lafayette

 and were going to Chicago to visit friends. A few moments later, he changed his story and said

 he was going to Chicago to look for a job. When Martinez asked Sanz where in particular he

 was going in Chicago, Sanz merely said that he was going to “Pulaski.”

        Martinez then went to go talk to the passenger, Prieto, and Martinez told Sanz to wait in

 the back of the squad car in the meantime. According to Martinez, Prieto was also extremely

 nervous during their encounter. Furthermore, when questioned, Prieto contradicted Sanz in at

 least one material way – Prieto told Martinez that he and Sanz were going to Chicago for the

 purpose of visiting family.

        Martinez then went back to Sanz and gave him back his license and a copy of a warning

 ticket. At that point, Martinez told Sanz that he was free to go. Martinez and Sanz both turned

 and started walking towards their respective cars.

        As Sanz was walking back to his car, Martinez turned around and said: “Excuse me, sir.

 You don’t have any types of weapons or . . . types of drugs in their?” Sanz responded: “No.”

 Martinez then asked if he could search the car, but Sanz just stared at Martinez. Everything up

 to this point in their encounter had been in English. Given the blank stare that Sanz was making

 at him, Martinez became concerned that Sanz might later claim that he did not fully understand

 English, so Martinez decided to repeat the question to Sanz in Spanish. For the remainder of

 their interaction, Martinez and Sanz spoke in Spanish.


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        When Martinez asked Sanz (in Spanish) if he could search the car,1 Sanz nodded his

 head up and down and gestured towards the car in an “arm spreading” fashion. The video

 plainly shows this. At that point, Martinez asked the passenger (Prieto) to get out of the car and

 directed him to get into the police car (the two from the media were out of the car standing at a

 distance away).

        Martinez began his search in the interior of the car and then inspected the outside. His

 attention was immediately drawn to the bumper. Martinez could tell that bumper had been

 tampered; he saw what looked like bondo, smear marks, and fresh paint, all hallmarks – from

 his experience – of a potential for a hidden compartment. He used his fingernail to scratch the

 bumper and this confirmed that the presence of bondo and fresh paint. He reached in the side of

 the bumper and felt a plastic bag full of what appeared to be narcotics. Martinez and Prieto were

 then placed under arrest.

        The issue is whether Sanz voluntarily consented to the search of his car by nodding in the

 affirmative and gesturing at the car while he was nodding. First, some background. While

 warrantless searches are per se unreasonable under the Fourth Amendment, it is well-settled that

 an exception to warrant and probable cause requirements is a search that is conducted pursuant

 to consent. United States v. Grap, 403 F.3d 439, 443 (7th Cir. 2005). The government bears the

 burden of proving that the consent was freely given. Id. The question of voluntariness is a


        1
                There is a debate on whether Martinez said “Can I search the car?” versus “Can I
 look over the car?” The Court was provided three copies of transcripts of the conversations.
 Defense Exhibits A and C use the word “Search” while Defense Exhibit B uses the words “look
 over.” At the hearing, the Court asked Martinez to say in Spanish exactly what he said to Sanz
 on the roadside. This was translated in open court by the court-retained interpreter who
 confirmed that the appropriate translation was the one using the word “search,” which the Court
 chooses to credit.

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 question of fact to be determined by the totality of the circumstances. Schneckloth v.

 Bustamonte, 412 U.S. 218, 219 (1973). Factors in assessing voluntariness include the person’s

 age, intelligence, education, mental health and capability of giving consent, whether consent was

 given immediately or only after repeated request by the police, whether physical coercion was

 used, and whether the subject was in custody. Grap, 403 F.3d at 443. Consent need not be

 knowing and intelligent, and may be given unintentionally and without knowledge of the right to

 refuse consent. United States v. Drayton, 536 U.S. 194, 206-07 (2002); United States v. Saadeh,

 61 F.3d 510, 518 (7th Cir. 1995) (consent to search voluntary even though suspect was not

 informed of right to refuse consent).

        Importantly, consent may implied. Thus, consent to search may be manifested in a non-

 verbal manner. That is, both actions and words can be used to establish consent. United States v.

 Villegas, 388 F.3d 317, 324; United States v. Raibley, 243 F.3d 1069, 1077 (7th Cir. 2001);

 United States v. Walls, 225 F.3d 858, 863 (7th Cir. 2000); United States v. Cottam, 88 F.3d 487,

 495 (7th Cir. 1995); United States v. Rosario, 962 F.2d 733 (7th Cir. 1992). In Walls, for

 example, the consent was found to be voluntary where the defendant opened the door to her

 house and stepped back. Likewise, in Rosario, consent was found where the occupant of a hotel

 room opened the door to the room, gestured for the officers to enter, and then stepped back out

 of their way.

        In this case, the audiotape has Martinez asking Sanz for consent to search the car in both

 English and Spanish, and the videotape shows Sanz nodding his head up and down and gesturing

 towards the vehicle. These facts make this case virtually indistinguishable from the cases cited

 in the prior paragraph. The only question is whether there was a language barrier in this case


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 that was not present in the other cases. There was not. The tape clearly reveals that Sanz could

 readily understand the English language; indeed, he answered several questions in English.

 Sanz’s comprehension of the English language matters little, because, as previously mentioned,

 Martinez also asked Sanz if he could search in Spanish as well. This is what prompted Sanz to

 nod in the affirmative and gesture towards the car.

        Finally, even if we were to accept Sanz’s translation of what Martinez asked him – i.e.,

 “Can I look over the car?” instead of “Can I search the car?” – it gets Sanz nowhere. The Court

 declines Sanz’s implicit invitation to find that law enforcement officers must actually use the

 word “search” when seeking consent. To hamstring the police in this way is both unnecessary

 and not supported by the law. Indeed, Courts have been flexible with the language used by law

 enforcement officials when requesting consent to search. See United States v. Strache, 202 F.3d

 980 (7th Cir. 2000) (police conducted full search of bedroom after asking if defendant minded if

 they “took a look” at items in bedroom); United States v. Rice, 995 F.2d 719 (7th Cir. 1993)

 (providing consent to “look around” room authorized search of room, including small bag

 contained therein); United States v. Berke, 930 F.2d 1219 (7th Cir. 1991) (providing consent to

 “look” into the bag authorized full search of the bag and its contents); United States v. Mendoza-

 Gonzalez, 318 F.3d 663 (5th Cir. 2003) (providing consent to “look in” vehicle authorized

 general search of entire vehicle); United States v. Pena, 143 F.3d 1363, 1368 (10th Cir. 1998)

 (providing consent to “look in” the motel room reasonably included a search into the area above

 the bathroom ceiling); United States v. Anderson, 114 F.3d 1059, 1065 (10th Cir. 1997)

 (providing officer with consent “to scout around” vehicle authorized full search of vehicle,

 including undercarriage of vehicle); United States v. Gant, 112 F.3d 239, 242-43 (6th Cir. 1997)


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 (providing consent to “look” in bag authorized search of entire bag); United States v. McRae, 81

 F.3d 1528, 1537-38 (10th Cir. 1996) (providing officer consent to “look in” vehicle authorized

 officer to search the entire vehicle); United States v. Rich, 992 F.2d 502 (5th Cir. 1993)

 (providing consent to “look in” truck authorized full search of vehicle); United States v. Harris,

 928 F.2d 1113, 1117 (11th Cir. 1991) (providing consent to “look” in vehicle to make sure there

 were not any illegal drugs or weapons authorized search of luggage in trunk); United States v.

 Montilla, 928 F.2d 583 (2d Cir. 1991) (providing consent to take a “quick look” through bag

 authorized search of entire bag); United States v. Boucher, 909 F2d 1170, 1174-75 (8th Cir.

 1990) (providing consent to “look in” vehicle authorized thorough search of vehicle, not just a

 cursory look through the windows of the vehicle); United States v. Espinosa, 782 F.2d 888, 892

 (10th Cir. 1986) (providing consent to “look through” vehicle authorized officer to remove back

 seat and rear quarter panel of vehicle during search). Thus, even if we were to accept Sanz’s

 translation of the words that Martinez used, we would still find that the consent was voluntary.

        None of the other factors that we must take into consideration cause us to change that

 view. Consent was given immediately upon request in this case. In addition, no evidence was

 presented that Sanz lacks intelligence or the ability to refuse consent, no threats were made to

 him, and he was not in custody when he consented. In sum, Sanz consented to the search of the

 Honda and the motion to suppress [Doc. 54] is DENIED.

        SO ORDERED.

        ENTERED: January 30, 2007

                                                        s/ Philip P. Simon
                                                        PHILIP P. SIMON, JUDGE
                                                        UNITED STATES DISTRICT COURT


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